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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

SONOS, INC.,                                §
                                            §
                 Plaintiff,                 §
                                            §
      v.                                    §
                                                  NO. 6:20-cv-00881-ADA
                                            §
GOOGLE LLC,                                 §
                                            §
                 Defendant.
                                            §
                                            §

    ORDER GRANTING PLAINTIFF SONOS, INC.’S UNOPPOSED MOTION FOR
            LEAVE TO FILE SECOND AMENDED COMPLAINT


      Before the Court is Sonos, Inc.’s Unopposed Motion for Leave to File Second Amended

Complaint (“Motion”). Having reviewed the Motion, and good cause appearing therefor, this

Court concludes that the Motion should be, and is hereby, GRANTED.

      IT IS SO ORDERED.



Dated: February ____, 2021


                                                     ALAN D ALBRIGHT
